     Case 2:17-cv-09193-FMO-E Document 81 Filed 05/18/19 Page 1 of 9 Page ID #:1442



1
      Liana Serobian, Esq. (SBN 235466)
2
      Serobian Law, Inc.
3     100 N. Brand Blvd., Suite 600
4
      Glendale, CA 91203
      (818) 539-2249
5     L.Serobian@yahoo.com
6

7
      Attorneys for Plaintiffs, Ulikhanova and Minor P.G.
8

9
                          UNITED STATES DISTRICT COURT
10

11
                        CENTRAL DISTRICT OF CALIFORNIA
12    LUCY ULIKHANOVA, ET AL.,,                    Case No. 2:17-CV-9193-FMO-E
13
                                                   Hon. Fernando M. Olguin (Dist.
                  Plaintiffs,                      Judge)
14
                                                   Hon. Charles F. Eick (Mag. Judge)

15
      vs.
                                     PLAINTIFFS’ EX-PARTE REQUEST
16    COUNTY OF LOS ANGELES, ET AL., FOR CLARIFICATION REGARDING
                                     THE SUMMARY JUDGMENT
17
              Defendant              STANDING ORDER
18
                                                 COMPLAINT FILED: DECEMBER
19
                                                 23, 2017
20                                               FAC FILED: APRIL 19, 2018
21
                                                 SAC FILED: MAY 18, 2018
                                                 TAC FILED: JULY 2, 2018
22

23

24

25
                  PLEASE TAKE NOTICE:

26                Plaintiffs respectfully request this Court’s clarification with regard to
27
      the standing order (ECF No. 19) on Summary Judgment Motions, which requires
28    PLAINTIFFS’ REQUEST FOR CLARIFICATION ON STANDING ORDER DOCKET 19
      PAGE | 1
     Case 2:17-cv-09193-FMO-E Document 81 Filed 05/18/19 Page 2 of 9 Page ID #:1443



1     parties to prepare a joint motion with memorandum of points and authorities, joint
2
      appendix of undisputed facts, and joint evidentiary appendix. Parties had email
3

4     meet and confer regarding the issues herein starting May 6 to 10, 2019, however,
5
      clarification is still needed. The Summary Judgement Motions are due to be filed
6

7
      with this Court midnight of May 23, 2019. Opposing counsel appears to want all

8     documents to be filed separately, but the Opposition within the brief. Defendant’s
9
      Counsel, Mr. Ryan Graham, did not indicate that he would oppose this request for
10

11    clarification sought by Plaintiffs’ Counsel. This Request is based on the following
12
      memorandum and the attached Declaration of Counsel.
13

14
                   Specifically, counsel for the Plaintiffs respectfully requests

15    clarification as to the following issues:
16
                   I.     This Court’s Standing Order under Docket Number 19 requires
17
                          joint Summary Judgment Motion documents to be prepared,
18                        here. However, upon the informal request for clarification by
                          the Defendants’ counsel Ryan Graham via an email to this
19
                          Court’s clerk, Vanessa Figueroa, indicated that the Court
20                        permitted each party to prepare a separate Summary Judgment
21
                          Motion, but the evidentiary appendix and statement of
                          disputed/undisputed facts could continue to be joint. Per the
22                        request of the counsel for Defendants Ryan Graham to this
23                        Counsel for Plaintiffs, the evidentiary appendix and statement
                          of facts have also been separately prepared by each party, as
24
                          opposed to the joint documents described in the standing order
25                        no. 19. Given the approval of this Court to prepare separate
                          briefs and Mr. Graham’s request for separate documents, the
26
                          undersigned counsel for the Plaintiffs worked on the Plaintiffs’
27                        Motion for Summary Judgment using a pdf program and would
28    PLAINTIFFS’ REQUEST FOR CLARIFICATION ON STANDING ORDER DOCKET 19
      PAGE | 2
     Case 2:17-cv-09193-FMO-E Document 81 Filed 05/18/19 Page 3 of 9 Page ID #:1444



1                        like to similarly prepare a separate Opposition in a pdf format.
2                        Defendants’ Counsel Ryan Graham asked to work of a word
                         version of the Plaintiffs’ Motion for Summary Judgment,
3
                         however, counsel fears that the exportation of this document
4                        into word may lead to formatting and possibly other errors
                         counsel is not technically savy to catch. To avoid these, counsel
5
                         proposes that the Oppositions by each counsel to the Motion for
6                        Summary Judgment be prepared in a separate document as well,
7
                         as all documents have already been separately prepared. In the
                         meantime, counsel has exported from pdf to word and emailed
8                        Plaintiff’s Motion for Summary Judgment to Mr. Graham with
9                        a suggestion that parties work on the word version and if this
                         Court permits a separate pdf Opposition, then parties could
10
                         copy and paste our opposition into a separate document and file
11                       with this Court as a pdf. That way Plaintiffs’ originally emailed
                         documents to Defendants’ counsels would be filed with this
12
                         Court for consideration without a chance for internal or
13                       technical errors. Defendants’ counsel did not oppose this
14
                         request for clarification, although the preference as to
                         formatting is not made clear to the Plaintiffs counsel.
15

16                II.    Plaintiffs request that all deadlines of the parties to email each
                         other documents or briefs with regard to Summary Judgment
17
                         Motions conform to this Court’s 12 am filing deadline, and not
18                       be unnecessarily shortened by the preference of counsel to 6
                         pm. This is not supported by the standing order No. 19 or the
19
                         local rules of this Court. Local Rule 5-4.6.1 Timeliness. Unless
20                       otherwise provided by order of the assigned judge, all electronic
21
                         transmissions of documents must be completed prior to
                         midnight Pacific Standard Time or Pacific Daylight Time,
22                       whichever is in effect at the time, in order to be considered
23                       timely filed on that day.
24
                  III.   Plaintiffs seek this Court’s guidance as to when it would be
25                       appropriate to request to Strike Defendant’s Motion for
                         Summary Judgment for being late and if this should be included
26
                         in the Opposition itself or a separate request.
27

28    PLAINTIFFS’ REQUEST FOR CLARIFICATION ON STANDING ORDER DOCKET 19
      PAGE | 3
     Case 2:17-cv-09193-FMO-E Document 81 Filed 05/18/19 Page 4 of 9 Page ID #:1445



1                  As relevant to the issues herein, counsel for the parties, Liana
2
      Serobian for Plaintiffs and Ryan Graham for Defendants, met and conferred on the
3

4     Joint Motion for Summary Judgment per Docket no. 19 on April 18, 2019, in the
5
      office of the Peterson, Bradford, and Burkwitz. The mutual understanding at the
6

7
      conclusion of the meet and confer was to comply with the court’s standing order

8     and possibly ask the court for permission to add pages to our briefing.
9
                   On April 19, 2019, counsel for the Defendants, Ryan Graham,
10

11    emailed Clerk of this Court, Vanessa Figueroa, to ask about the page limits as both
12
      parties intended to file Summary Judgment Motions. Ms. Figueroa kindly
13

14
      responded the same day as follows: “Per chambers: they can file two separate joint

15    briefs - one for each party, which should give them the number of pages needed.
16
      Perhaps they can rely on the same joint appendix and SUF.”
17

18                 The undersigned counsel’s understanding continued to be that parties
19
      were going to comply with the standing order docket no. 19, and only the briefs
20

21
      would be separate as permitted by this Court. Thus, the undersigned believed that

22    parties would rely on the joint evidentiary appendix and statement of facts per the
23
      standing order and the communications at the meet and confer. Mr. Graham also
24

25    send a link to the joint evidentiary appendix for parties to work together from.
26
      Upon the suggestion of Mr. Ryan Graham and mutual agreement of the parties, the
27

28    PLAINTIFFS’ REQUEST FOR CLARIFICATION ON STANDING ORDER DOCKET 19
      PAGE | 4
     Case 2:17-cv-09193-FMO-E Document 81 Filed 05/18/19 Page 5 of 9 Page ID #:1446



1     due date for parties to email each other the Motions for Summary Judgement were
2
      extended to May 7, 2019.
3

4                   On May 6, 2019, Mr. Ryan Graham clarified in his email that the
5
      Defendant’s position was that on May 7, 2019, evidentiary index and statement of
6

7
      the facts also needed to be separately prepared by each party, prompting the

8     undersigned counsel to send emails for clarification and later telephone Mr.
9
      Graham’s office the morning of May 7, 2019, three times to finally speak with him
10

11    for a clarification. When counsel talked over the telephone around 11 am on May
12
      7, 2019, the day all documents were due to each other, Mr. Graham clarified that
13

14
      the Defendants’ position was that every document had to be prepared separate by

15    each party.
16
                    Undersigned put together the Plaintiffs’ Joint Motion for Summary
17

18    Judgment, Evidentiary Appendix, and Statement of Facts and emailed these
19
      documents in the pdf format to the counsels for Defendants, Mr. Ryan Graham and
20

21
      Mr. Avi Burkwitz on May 7, 2019. However, Mr. Ryan Graham did not email

22    anything to undersigned counsel on May 7, 2019; instead, on May 8, 2019 early
23
      morning hours, he sent a link to a virtual place that these documents could be
24

25    located and where he arguably on behalf of Defendants continued to have access to
26
      make changes and amendments. When undersigned alerted that this virtual link
27

28    PLAINTIFFS’ REQUEST FOR CLARIFICATION ON STANDING ORDER DOCKET 19
      PAGE | 5
     Case 2:17-cv-09193-FMO-E Document 81 Filed 05/18/19 Page 6 of 9 Page ID #:1447



1     was unacceptable due to lack of final work product and his continued ability to
2
      make changes to the documents in the link, Mr. Graham emailed attachments to
3

4     these documents to Plaintiff’s counsel on May 9, 2019. In the follow up email the
5
      same day, Mr. Graham requested to make changes to it, which Plaintiffs’ Counsel
6

7
      did not stipulate to.

8                  That day, Mr. Graham also requested Plaintiffs’ Motion for Summary
9
      Judgment in word format so that he could make his arguments therein. However,
10

11    given his earlier representation on May 7, 2019, that parties were to prepare every
12
      document separately, counsel worked off a pdf program on her motion and other
13

14
      documents to ensure timely submission. Reverting this pdf document to Microsoft

15    Word has the potential of altering the formatting and causing technical errors in the
16
      exportation process from pdf to word.
17

18                 To avoid these errors, counsel emailed this Court’s Clerk, Vanessa
19
      Figueroa, on April 9, 2019, for a clarification whether now that parties have
20

21
      worked separately on all documents, could the Oppositions be separate as well in a

22    pdf format. Counsel also wanted to find out whether a challenge to the lateness of
23
      the Defendant’s Motion for Summary Judgment should be raised in the Opposition
24

25    or a separate document. However, Ms. Figueroa instructed counsel to file a formal
26
      request for a clarification given the Court was busy.
27

28    PLAINTIFFS’ REQUEST FOR CLARIFICATION ON STANDING ORDER DOCKET 19
      PAGE | 6
     Case 2:17-cv-09193-FMO-E Document 81 Filed 05/18/19 Page 7 of 9 Page ID #:1448



1                  Although counsel did export the Plaintiffs’ Motion for Summary
2
      Judgement from pdf to word and emailed the same to Mr. Graham, still, counsel
3

4     would like this Court’s permission to file with this Court Plaintiffs’ original pdf
5
      documents sent to Defendant’s on May 7, 2019, and to prepare separate Opposition
6

7
      in pdf to avoid any errors in formatting or content of the Plaintiffs’ documents.

8                  For these reasons, Plaintiffs would like clarification and/or permission
9
      as follows: 1) to file separate Oppositions to Motions To Dismiss in pdf with this
10

11    Court, since all other documents have been prepared separately; 2) set the filing
12
      deadline to be the 12 a.m. in conformance with the Local Rule 5-4.6.1, and 2)
13

14
      Plaintiffs’ seek guidance as to when and in what brief should they request to Strike

15    the Defendant’s Motion for Summary Judgement as Untimely.
16

17

18                 May 18, 2019                            /s/ Liana Serobian
19
                                                           Liana Serobian
20                                                         Counsel for the Plaintiffs
21

22

23

24

25

26

27

28    PLAINTIFFS’ REQUEST FOR CLARIFICATION ON STANDING ORDER DOCKET 19
      PAGE | 7
     Case 2:17-cv-09193-FMO-E Document 81 Filed 05/18/19 Page 8 of 9 Page ID #:1449



1                                    DECLARATION OF COUNSEL
2
                   I, counsel for the Plaintiffs, Liana Serobian, declare under the penalty
3

4     of perjury that all factual statements made in this Request are to my best
5
      knowledge and understanding.
6

7

8

9                  May 18, 2019                           Liana Serobian
                                                          Counsel for the Plaintiffs
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28    PLAINTIFFS’ REQUEST FOR CLARIFICATION ON STANDING ORDER DOCKET 19
      PAGE | 8
     Case 2:17-cv-09193-FMO-E Document 81 Filed 05/18/19 Page 9 of 9 Page ID #:1450



1                                          PROOF OF SERVICE
2
                   STATE OF CALIFORNIA, County of Los Angeles:
3

4                        LIANA SEROBIAN states: that I am and at all times herein
      mentioned have been a citizen of the United States and a resident of the County of
5
      Los Angeles, over the age of eighteen years and not a party the within action; that
6     my business address is 100 North Brand Blvd., Suite 600, Glendale, County of Los
7
      Angeles, State of California.

8                         That on the 18th day of May 2019, I served the attached
9     Plaintiffs’ Request for Clarification upon the interested parties listed below by
      electronic service via email and mail addressed as follows:
10

11                 •     Avi Burkwitz; Esq., ABurkwitz@pbbllp.com
                         Ryan A. Gra am, Esq., rgraham@bbllg.com
12
                         PETERN ·RADFORD · BURKWITZ
13                       100 North First Street, Suite 300
14
                         Burbank, California 91502

15                       I declare under penalty of perjury that the foregoing is true and
16    correct. Executed this 18th day of May 2019, at Glendale, California.
17
                   /s/ Liana Serobian
18                 LIANA SEROBIAN, ESQ.
19

20

21

22

23

24

25

26

27

28    PLAINTIFFS’ REQUEST FOR CLARIFICATION ON STANDING ORDER DOCKET 19
      PAGE | 9
